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IN THE UNITED STATES DISTRICT COURT
FOR THE WESTERN DISTRICT OF TENNESSEE

 

  
  

 

EASTERN DIVISION
UNITED STATES OF AMERICA, ) _
)
)
Plaintiff, )
)
)
v ) Cr. No. 04-10010
)
)
VIRGIL GOODMAN, JR., ) o
_ ) ;" ,.1:_
Defendant. ‘ z ,
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;~ ‘ ~e g
/‘\. ‘ -lJ z 'l’ A
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MOTION FOR CONTINU ZQC) L¢\_, §§

 

 
   
     
  
  
 

COMES NOW, the United States of Ame ` a, by and through the undersigned Assistant

United States Attorney, Jerry R. Kitchen, oves this Honorable Coult for a continuance of the

sentencing date and would state as f ows:

Currently, this case is for sentencing on May 24, 2005. From May 24, 2005 to May 27,

2005, the undersigned ` scheduled to attend a Federal Prosecution course in Colurnbia, South

Carolina.

Ihav conferred with counsel for the defendant and he is not opposed to this continuance

EREFORE, premises considered, the United States requests the above continuance in

orde to allow the undersigned to attend the aforesaid training seminar..
MOTION GRANTED

amf

DATE:

  

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ames D. Todd

U.S. District Judge qq

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Respectfully submitted,

TERRELL L. HARRIS
United States Attorney

CJE§RY R..IQI‘F’CHEN '
Assistant United States Attorney

109 South Highland Avenue, Suite 300
Jackson, Tennessee 38301

(731) 422_6220

    

CERT[FICATE OF SERVICE

 

I, JERRY R. KITCHEN, do hereby certify that I have this date delivered a true and exact

copy of the foregoing motion to Jef`f Mueller, Attomey-at-Law, P.O. Box 3146, Jackson, TN

38303-3146.

'l`his the ‘ day ofMay 18, 2005.

Y R. CH N
Assistant United States Attorney

DISTRIC COURT - WESERNT D"'TRCT 0 TESSEE

Notice of Distribution

This notice confirms a copy of the document docketed as number 99 in
case l:04-CR-10010 Was distributed by faX, mail, or direct printing on
May 20, 2005 to the parties listed

 

 

J eff Mueller

LAW OFFICES OF JEFF MUELLER
P.O. Box 3146

Jackson7 TN 38303

Jerry R. Kitchen

U.S. ATTORNEY
109 S. Highland Ave.
Jackson7 TN 38301

Honorable J ames Todd
US DISTRICT COURT

